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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

 PAULA REYNOLDS,

 Plaintiff,                                            Case No. 3:19-cv-00042-SMY-GCS

 v.

 ALLIED INTERSTATE, LLC,

 Defendant.

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        NOW COMES the Plaintiff, PAULA REYNOLDS (“Plaintiff”), by and through her

attorneys, SULAIMAN LAW GROUP, LTD., and, in support of her Notice of Voluntary

Dismissal with Prejudice, state as follows:

        Plaintiff, pursuant to settlement and Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby

voluntarily dismisses her claims against the Defendant, ALLIED INTERSTATE, LLC, with

prejudice. Each party shall bear its own costs and attorneys’ fees.

Dated: December 4, 2019
                                                             Respectfully Submitted,

                                                             /s/ Alexander J. Taylor
                                                             Alexander J. Taylor
                                                             Counsel for Plaintiff
                                                             Sulaiman Law Group, Ltd.
                                                             2500 S. Highland Ave., Ste. 200
                                                             Lombard, IL 60148
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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              /s/ Alexander J. Taylor
                                                              Alexander J. Taylor




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